            Case 1:21-cr-00274-RDM Document 47 Filed 02/15/23 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :
       v.                                   :       Case No. 21-CR-274 (RDM)
                                            :
JOHNNY HARRIS,                              :
                                            :
                      Defendant.            :


        JOINT MOTION TO CONVERT THE FEBRUARY 22, 2023 PRETRIAL
          CONFERENCE HEARING TO A CHANGE OF PLEA HEARING
                AND VACATE THE FEBRUARY 27, 2023 TRIAL

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and defendant Johnny Harris, by and through his attorney, Samuel J.

Randall, IV, respectively, now submit this Joint Motion to Convert the February 22, 2023 Pretrial

Conference to a Change of Plea Hearing and Vacate the February 27, 2023 Trial.

       On December 21, 2022, considering the defendant’s waiver of a jury trial, the Court

scheduled a bench trial to begin on February 27, 2023. See Minute Order, December 21, 2022.

The Court further issued a pretrial scheduling order, which included a pretrial conference on

February 22, 2023, at 11:00 a.m. See id.

       On February 10, 2023, the defendant through counsel expressed interest in receiving a new

plea offer from the government and waiving his right to a trial altogether. On February 14, 2023,

defense counsel provided the government with a signed plea letter and statement of offense,

wherein the defendant agrees to plead guilty to Count Two of the Information, charging Disorderly

and Disruptive Conduct in a Restricted Building, in violation of 18 U.S.C. § 1752(a)(2).
         Case 1:21-cr-00274-RDM Document 47 Filed 02/15/23 Page 2 of 3




       In light of the defendant entering into a plea agreement with the government, the parties

request that the pretrial conference scheduled for February 22, 2023, at 11:00 a.m., be converted

to an in-person change of plea hearing and the trial date of February 27, 2023, vacated.



                                             Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             United States Attorney
                                             D.C. Bar No. 481052

                                     By:     /s/ Will N. Widman
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                                                    2
         Case 1:21-cr-00274-RDM Document 47 Filed 02/15/23 Page 3 of 3




                                      Certificate of Service

       I hereby certify that on February 15, 2023, I caused a copy of the foregoing memorandum

to be served on counsel of record via electronic filing.


                                              /s/ Will N. Widman
                                              WILL N. WIDMAN
                                              Trial Attorney, Detailee




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